      Case 1-20-40402-cec             Doc 21       Filed 03/10/20    Entered 03/10/20 13:57:49




UNITED STATES BANKRUPTCY COURT                                      Presentment Date: March 20, 2020
EASTERN DISTRICT OF NEW YORK                                        Time:             4:00 p.m.
--------------------------------------------------------X
In re

JORGE MIGUEL PRIETO,                                                Case No. 20-40402-cec


                                    Debtor.                         Chapter 11
--------------------------------------------------------X

                              NOTICE OF SETTLEMENT OF ORDER


        PLEASE TAKE NOTICE that Jorge Miguel Prieto shall present the annexed proposed
order for signature on March 20, 2020, at 4:00 p.m. The proposed order will be presented to the
Honorable Carla E. Craig, United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn,
New York 11201.

        PLEASE TAKE FURTHER NOTICE that if you wish to object to the entry of the
proposed order, you must state your objection in writing, state the reasons for your objection, file
the original objection electronically or in paper form with the Clerk of the Bankruptcy Court,
with a copy for Judge Craig’s Chambers, no later than March 20, 2020, at 4:00 p.m. The
objection must be accompanied by Proof of Service. A copy of the objection must also be
provided to the undersigned in a manner calculated to be received no later than March 20, 2020,
at 4:00 p.m. If an objection is filed, and the court schedules a hearing on the objection, you will
be notified of the hearing date.

Dated: March 10, 2020
Astoria, New York
                                                            _________________________
                                                            Norma E. Ortiz, Esq.
                                                            ORTIZ & ORTIZ, L.L.P.
                                                            32-72 Steinway St.
                                                            Suite 402
                                                            Astoria, New York 11103
                                                            Tel. (718) 522-1117
                                                            Fax (718) 596-1302
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re

JORGE MIGUEL PRIETO,                                                Case No. 20-40402-cec

                                    Debtor.                         Chapter 11
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                ORDER GRANTING DEBTOR’S MOTION TO CONTINUE THE
                   AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362 (c)

        Upon the motion (the “Motion”) of the debtor Jorge Miguel Prieto (the “Debtor”) for an

order, pursuant to 11 U.S.C. § 362(c)(3)(B), continuing the automatic stay; and upon the record

of the hearing held on February 19, 2020 at which Debtor appeared by counsel; no objections

having been interposed; and good cause appearing therefor; it is hereby

        ORDERED, that the Motion is granted; and it is further

        ORDERED, that the automatic stay, imposed by operation of 11 U.S.C. § 362 (a), is

hereby extended as to all creditors, pursuant to § 362(c)(3)(B), until the Debtor’s case is

dismissed or closed by the court as of February 19, 2020.

Dated: Brooklyn, New York
       March      , 2020
                                                            ____________________________
                                                            HON. CARLA E. CRAIG
                                                            U.S. BANKRUPTCY JUDGE
